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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
WANDA SAVAGE,                        )
                                     )
              Plaintiff,             )
                                     )
              v.                     )    Civil Action No.: 1:15-CV-00791-CRC
                                     )    ECF
ERIC D. HARGAN., Sec’y               )
Dep’ t of Health and Human Services, )
                                     )
              Defendant.             )
____________________________________)

DEFENDANT’S MOTION FOR LEAVE TO EXCEED PAGE LIMIT NUNC PRO TUNC
        AND OPPOSITION TO PLAINTIFF’S MOTION TO STRIKE

       Pursuant to LCvR 7(e), the undersigned counsel, on behalf of Eric D. Hargan, in his

official capacity as Acting Secretary of the Department of Health and Human Services

(“Defendant”), hereby respectfully move for leave to exceed the page limit nunc pro tunc and

hereby oppose Plaintiff’s Motion to Strike. Defendant inadvertently exceeded the page limit and

in fact was constrained to do so in order to “prebut” Plaintiff’s many factual allegations, most of

which are not material to the disposition of this action. Defendant regrets having not sought

leave sooner and begs the Court’s indulgence. Pursuant to LCvR 7(m), the undersigned

conferred with Plaintiff’s Counsel who did NOT consent to this request.

       As the Court will recall, Plaintiff commenced this action by filing a “sprawling” 15-

count, 47-page complaint. Dkt. No. 60 at 1-2. Subsequently, Plaintiff filed a 22-page amended

complaint. Dkt. No. 70. In responding to these claims, Defendant inadvertently filed a 50-page

memorandum – five (5) pages longer than allowed by the Local Rules. The Court has discretion

to allow Defendant to cure this defect brought about for the most part by the need to respond to

Plaintiff’s many factual allegations by granting this motion nun pro tunc. Local Rule 7.1(e)


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provides that the moving party’s memorandum is limited to forty-five pages. Courts recognize

that complex issues of fact and law as a reason to grant parties’ motions to exceed the Forty-Five

Page limit. Atkins v. Fischer, 2001 U.S. Dist. Lexis 25277 *3, n2 (D. D.C. 2001); BCCI

Holdings (Luxembourg) v. Bin Mahfouz, 1993 U.S. Dist. Lexis 1614 *2 (D. D.C. 1993) (allowing

a 55 page memorandum); Ramey v. United States Marshals Serv., 755 F.Supp.2d 88, 91 n1 (D.

D.C. 2010) (considering a “non-conforming” document in its summary judgment adjudication).

In light of the above, Defendant respectfully requests that the Court exercise its discretion to

permit Defendant’s memorandum in support of its summary judgment motion nun pro tunc.

       Plaintiff sought to have Defendant’s memorandum stricken in light of the above. If the

Court is inclined to grant, Defendant’s motion, Plaintiff’s motion should be denied. Plaintiff’s

motion should also be denied because Plaintiff’s Counsel failed to comply with LCvR 7(m)

before filing his motion. That alone, is ample grounds for the motion to strike to be denied in its

entirety. When the undersigned brought it to Plaintiff’s counsel’s attention that he had not

conferred prior to filing contrary to the Local Rule, Plaintiff’s Counsel stated incorrectly that the

undersigned had filed motions without conferring with him. Even if this “tit-for-tat” rationale

were true, that would not excuse, Plaintiff’s counsel from curing his defective filing, which he

has not done until this day. United States ex rel. Pogue v. Diabetes Treatment Ctrs. of Am., Inc.,

235 F.R.D. 521, 529 (D. D.C. 2006) (denying defendants' motion to compel for failure "to confer

with opposing counsel in an attempt to resolve the dispute before filing a non-dispositive

motion" under both the Federal Rules and Local Civil Rule 7(m)); see also Equal Rights Ctr. v.

Post Properties, Inc., 246 F.R.D. 29, 31 (D.D.C. 2007) (noting that "[f]ailure to comply with the

duty to confer requirement . . . is grounds for dismissing a motion to compel.")




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       Moreover, a "motion to strike is considered an exceptional remedy and is generally

disfavored," LaRouche v. Dep't of the Treasury, 2000 U.S. Dist. Lexis 5078 at *40 (D. D.C. Mar.

31, 2000) (citing Moore's at § 12.37[1]), and the proponent of such a motion must shoulder a

"formidable burden." Judicial Watch, Inc. v. Dep't of Commerce, 224 F.R.D. 261, 264 (D. D.C.

2004). Plaintiff has not carried the burden to confer with opposing counsel let alone the heavy

burden that motions to strike require.

       Regarding Plaintiff’s requests pertaining to affidavits, Dolinsky Affidavit is essentially

two-fold: (1) the circumstances of his being permitted to work from Chicago, Dolinsky Aff. ¶2;

and (2) to introduce his administrative hearing testimony regarding the circumstances

surrounding the reassignment of Tiffany Mulvihill. Id. ¶3, Exh. 1. With respect to the first of

these, the information provided by Dolinsky is -- for all intents and purposes -- cumulative to

that produced in discovery, as Petillo testified directly as to these facts in his May 8, 2017

deposition. See Petillo Dep. Tr. at 110-11. Likewise, to the extent the issue was whether

Dolinsky was on an alternative work schedule (AWS) at the time, this is also information that

was cumulative to evidence produced in discovery, in the form of Petillo's administrative

affidavit in the Report of Investigation in HHS-OS-0024-2011, said information found at Bates

No. 23-000659. As for the information in Dolinsky's affidavit relating to Mulvihill's transfer,

this too was cumulative to Petillo's testimony in deposition. Petillo Dep. Tr. at 104-06. Put

simply, neither Dolinsky's affidavit nor the attached exhibit added anything more than what was

already in the record.

       The affidavit provided by Michelle Ruddy was limited to a single issue: whether Javier

Lopez was paid for any overtime worked, per Plaintiff's Equal Pay Act claim. The Court had

explicitly held open this one isolated issue under Plaintiff's EPA count. Memorandum Op. at 17-



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18. Defendant acknowledges that it did have the information contained in Ms. Ruddy's

declaration prior to the filing of its summary judgment motion; however, Defendant's failure to

provide this information in response to Plaintiff's Interrogatory No. 3 was not a discovery

violation. Specifically, that Interrogatory sought "all evidence, including documents, and/or

statements not in the Report of Investigation upon which you intend to rely, or submit at

hearing."

       Put simply, Defendant would not "rely upon" or "submit" Ms. Ruddy's testimony at any

trial or hearing for a simple reason: in order to make out her EPA claim, Plaintiff bears the

burden of demonstrating that Lopez was, in fact, paid overtime. Notwithstanding this, and the

Court's express invitation to take discovery on this issue, Mem. Op. at 18, Plaintiff never did so.

As such, and given that Ms. Ruddy's testimony effectively proves a negative (i.e., that Lopez had

indeed not been paid any overtime), Defendant would have no reason to rely upon such

testimony or submit it at hearing. Consequently, it cannot in any reasonable sense be said to

have violated Rule 26(e) by failing to have provided this information to Plaintiff earlier.

       Dr. Presant's declaration consists solely of a description of FOH's process for seeking the

medical information necessary to conduct its reviews. Presant Decl. Although the specific

statement of Dr. Presant may not have been provided to Plaintiff prior to the submission of the

summary judgment motion, the process described by Dr. Presant is fully manifested in the

extensive FOH documentation of Plaintiff's matters provided in discovery (see Def. Response to

Plaintiff's Document Request No. 25). As such, Dr. Presant's declaration is -- for all intents and

purposes -- cumulative to the more detailed documentation produced by the Agency in

discovery.




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       The declaration of Defendant's OWCP liaison Joyce Cooper focuses squarely upon the

issue of whether the medical information provided to OWCP is shared with Defendant's RA

specialists, absent an express authorization from the employee in question. See Cooper Decl. ¶3,

and whether Cooper shared such information without authorization. Id. ¶4. This affidavit is

likewise cumulative to information plainly provided to Plaintiff in discovery.

       Specifically, in response to a number of Plaintiff's Requests for the Production of

Documents (seeking mostly documentation relating to Plaintiff's workers compensation filings),

Defendant specifically objected to these requests based upon the very records retention policy to

which Cooper was referring in her declaration (i.e., Privacy Act Systems - DOL/GOVT-1), and

provided Plaintiff's counsel with a copy of the records retention notice. See Def. Resp. to Pl.

Requests for Documents, Requests Nos. 2, 5, 7, 8, 9; Privacy Act Systems-DOL/GOVT-1). As

such, Plaintiff cannot in any reasonable fashion state that Defendant failed to provide her with

the information referenced in Cooper's declaration.

       To the extent Plaintiff is seeking to claim that Cooper's declaration testimony that she did

not burden to prove that Defendant's employees violated the terms of the Privacy Act Systems

notice, and Defendant would have no reason to rely upon or submit Cooper's testimony on this

point absent some affirmative evidence from Plaintiff that information in the workers

compensation file was shared with Plaintiff's supervisors or Defendant's EEO staff without

specific authorization. As such, for the same reasons expressed in response to the declaration of

Michelle Ruddy, Defendant's failure to previously disclose Cooper's affidavit did not violate

Rule 26(e).




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       The declaration submitted by Christine Smith focuses primarily on verifying the

authentication of the reasonable accommodation files submitted by Defendant in discovery, see

Smith Decl. ¶¶2-4, the prohibition on the sharing of workers compensation records with the

reasonable accommodations staff, absent specific authorization, id. ¶5, her advice to Plaintiff to

hold off on installing her adaptive equipment until her office space issues were resolved, id. ¶6,

her observations of Plaintiff's office space, id. ¶7, and the limits on Defendant's EEO office to

affect changes to public bathrooms in GSA buildings such as Switzer. Id. ¶8.

       The information contained in paragraph 5 of Smith's declaration, as with the information

in Cooper's declaration, is largely cumulative to that provided by Defendant in discovery,

particularly in its objections to Plaintiff's requests regarding workers compensation records, and

the Defendant's resultant furnishing to Plaintiff's counsel of the Privacy Act Systems

DOL/GOVT-1, which specifically set forth the limitations on disclosure. The information

contained in paragraph 6 is essentially confirmatory of information already in the record,

evidenced by Plaintiff's May 2, 2011 (10:16am) e-mail to Blythe (and copied to Petillo, Bridges,

and Smith), that was produced in discovery through Plaintiff's reasonable accommodation files,

see Bates No. 25-000670 through 25-000671, and as such does not constitute a failure to

disclose. Likewise, the information contained in paragraph 8 is simply confirmatory of the

actions she took in this case (evidenced by documents submitted in discovery through Plaintiff's

reasonable accommodation files, see, e.g., Bates No. 25-000546 and 25-000547), and cumulative

to that provided through the declaration of Edward Busse III, to which Plaintiff has not objected.

See Busse Decl. ¶2.




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       For the reasons above, all of the information Defendant allegedly failed to disclose was

either (1) authenticative only, (2) actually provided in discovery, or (3) cumulative to other

information provided in discovery. As such, Defendant's has not failed to comply with its

obligations under Rule 26(e).

       The declaration submitted by Green addressed two key points: (1) the state of affairs in

the MA Division prior to her securing a reassignment, see Green Decl. ¶¶2-4; and (2) the process

by which Green obtained the reassignment, and more specifically, that Petillo did not play a role

in that reassignment. See id. ¶5. The information on the first of these points was fully spelled

out in documents produced by Defendant in discovery -- specifically, through Green's affidavit

in the Report of Investigation in the first of Plaintiff's EEO complaints. See Bates Nos. 23-

000294 through 23-000305. Consequently, Plaintiff's claim that Defendant violated Rule 26(e)

on this point is simply erroneous.

       As for the second of these points, Defendant did not necessarily intend to use evidence

regarding Ms. Green's transfer until Agency counsel had the opportunity to review Petillo's

deposition transcript in early June 2017 (Agency counsel was out of the country for the last week

of May and the first week of June), and realized that the record contained little reference to her

reassignment. At that point, it took some time for the Agency counsel to get a response from

Ms. Green reached out to Ms. Green and obtained the information from Ms. Green, preparing the

declaration by July 25, which was then produced to Plaintiff on August 1, 2017.

       For the foregoing reasons, the Court should grant Defendant’s motion for leave nun pro

tunc and deny Plaintiff’s motion to strike.

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December 11, 2017                  Respectfully submitted,

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                                   United States Attorney
                                   for the District of Columbia

                                   DANIEL F. VAN HORN, D.C. Bar # 924092
                                   Civil Chief

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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
WANDA SAVAGE                         )
                                    )
            Plaintiff               )   Civil Action No. 15-0791 (CRC)
                                     )  ECF
                                     )
            v.                       )
                                     )
ERIC D. HARGAN., Sec’y, Dep’t of     )
Health and Human Services            )
                                     )
            Defendant.               )
____________________________________)

                                   [PROPOSED] ORDER

      After considering this motion, the record herein, and applicable law,

      it is this ____ day of ________________, 201_, hereby

      ORDERED, that the Defendant’s motion is hereby GRANTED and it is

      FURTHER ORDERED, that leave is granted to the Defendant nun pro tunc to file a

memorandum in support of its Motion for Summary Judgment not to exceed 50 pages.

      FURTHER ORDERED, that Plaintiff’s motion to strike is denied in its entirety.



                                         HON. CHRISTOPER C. COOPER, U.S.D.J.




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                                CERTIFICATE OF SERVICE

       I certify that I caused copies of the foregoing Defendant’s Motion and Opposition to be

served on Plaintiff’s counsel via ECF.

                                                /s/
                                            KENNETH ADEBONOJO




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